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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §        CASE NO. 1:13-CR-63 (1)
                                                  §
 CLIFTON CHAUNCEY BROMON                          §


         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

 Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

 Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

 States Magistrate Judge. The magistrate judge recommended that the court accept the Defendant’s

 guilty plea. He further recommended that the court adjudge the Defendant guilty on Count One of

 the First Superseding Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea agreement

 until after the presentence report has been reviewed.

        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Clifton Chauncey Bromon, is




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 adjudged guilty as to Count One of the First Superseding Indictment charging a violation of Title 21,

 United States Code, Section 846.

         SIGNED this the 28 day of March, 2014.




                                        ____________________________
                                        Thad Heartfield
                                        United States District Judge




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